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FoR THE wEsTERN DIsTRIcT oF TENNESSEE .
WESTERN DIVIsIoN 05 JUL \3 AH|\~ 03

 

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REBEccA H. TREACE, CLE$% GF,{§\§ z'_iE.EMS

Pla.intiffr
v. No. 03-2409 Ml/P

UNUM LIFE INsURANcE coMPANY
oF AMERICA,

Defendant.

 

ORDER REGARDING MDTIONS IN LIMINE

 

Before the Court are several motions in limine filed by the
parties in this case. With respect to each motionr the Court has
reviewed the record and considered the parties' arguments. The
Court makes the following findings regarding these motions:

l. Plaintiff's Motion in Limine to Strike the Affidavit of
Denise Payne and Exclude Testimony from All Witnesses on Behalf
of Defendant Concerning Topics Identified in Plaintiff’s Rule
30(b)(6) Deposition Notice Other Than Testimony From Witnesses
Produced by Defendant Being Catherine Wardwell and William
Bradley, filed March 15, 2005, to which Defendant responded on
March 18, 2005, is DENIED.

2. Plaintiff's Motion to Alter or Amend Judgment, filed
March 31, 2005, to which Defendant responded on April ll, 2005,

J`_S DENIED .

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3. The Motion of Unum Life Insurance Company of America to
Strike References in Plaintiff’s Response to Defendant's Motion
for Summary Judgment and Memorandum in Support of Plaintiff's
Motion for Partial Summary Judgment to Regulatory Settlement
Agreement and Motion in Limine to Exclude Evidence at Trial
Relating to Regulatory Settlement Agreement, filed February 1,
2005, to which Plaintiff responded on March ll, 2005, is DENIED
without prejudice. Should Plaintiff seek to introduce the
agreement or portions thereof at trial, Defendant may renew its
objection at that time.

4. Plaintiff's Motion in Limine to Exclude the Expert
Testimony of Dr. Shraberg and Ms. Nancy Hughes, filed December
23, 2004, to which Defendant responded on January 25, 2005, is
DENIED.

5. Unum Life Insurance Company’s Motion to Strike the
Deposition Testimony of David Strauser and Motion in Limine to
Exclude Trial Testimony from David Strauser, filed February l,
2005, to which Plaintiff responded on March ll, 2005, is DENIED.

6. Defendant Unum Life Insurance Company’s Motion in Limine
to Exclude Testimony by Dr. John Black Regarding “Unsound Mind,”
filed March 21, 2005, to which Plaintiff responded on April 5,

2005, iS GRANTED.

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7. Plaintiff's Motion to Strike Defendant's Supplemental
Memorandum for Summary Judgment on Treace's Fraud Claim, filed
April 15, 2005, to which Defendant did not respond, is GRANTED.

8. Plaintiff’s Motion in Limine to Exclude Evidence at Trial
Concerning Income of Plaintiff Rebecca Treace, filed June 17,

2005, to which Defendant responded on July 5, 2005, is DENIED.

So ORDERED this £z day of July, 2005.

..Q mille

JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

         

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Notice of Distribution

This notice confirms a copy of the document docketed as number 259 in
case 2:03-CV-02409 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

